Case 2:21-cv-11741-JMV-MF Document 12 Filed 07/20/21 Page 1 of 3 PageID: 141




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Attorneys for Defendant United Airlines, Inc.

                 UNITED STATES DISTRICT COURT
            DISTRICT OF NEW JERSEY, NEWARK DIVISION

WILLIAM ARCE,

            Plaintiff,
                                            Case No.: 21-cv-11741 (JMV)(MF)
      vs.
                                                NOTICE OF MOTION TO
TRAVEL GUARD GROUP, INC.,                       DISMISS PLAINTIFF’S CLASS
NATIONAL UNION FIRE                             ACTION COMPLAINT
INSURANCE COMPANY OF
PITTSBURGH, PA., AND UNITED
AIRLINES, INC.

            Defendants.

      PLEASE TAKE NOTICE that on August 16, 2021, at 9:00 a.m. or as soon

thereafter as counsel may be heard, Defendant United Airlines, Inc. (“United”) will
Case 2:21-cv-11741-JMV-MF Document 12 Filed 07/20/21 Page 2 of 3 PageID: 142




move before the Honorable John Michael Vazquez in Courtroom PO-03 of the

Lautenberg U.S. Post Office & Courthouse, Federal Square, Newark, New Jersey

07101, for an Order pursuant to Federal Rules of Civil Procedure 12(b)(1) and

12(b)(6) dismissing Plaintiff’s Class Action Complaint in its entirety with prejudice.

      PLEASE TAKE FURTHER NOTICE that in support of this Motion,

United shall rely on the accompanying Memorandum of Law in Support of Motion

to Dismiss Plaintiff’s Class Action Complaint, and the Certification of Counsel in

Support. A proposed Order also accompanies this Motion.

      PLEASE TAKE FURTHER NOTICE that United hereby requests oral

argument.

Dated: July 20, 2021             WINNE, BANTA, BASRALIAN & KAHN, P.C.,
                                 Attorneys for Defendant United Airlines, Inc.

                                 s/ Michael J. Cohen
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Case 2:21-cv-11741-JMV-MF Document 12 Filed 07/20/21 Page 3 of 3 PageID: 143




                            CERTIFICATE OF SERVICE

         I, Michael Cohen, certify that on July 20, 2021, I filed a copy of the foregoing

Notice of Motion to Dismiss, and the accompanying Memorandum of Law,

Certification, and Proposed Order, electronically using the Court’s CM/ECF system,

which will automatically generate notice of this filing to all Counsel of Record.

                                          s/ Michael J. Cohen
                                          Michael J. Cohen




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